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                                              EXHIBIT i




                                               EXHIBIT i
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                                                  i
                                                  ,
                                  RHODES ENTiTlES' MEI)IATlON SETTLEMENT PROPOSAL
                                                  i

             Releases for Rhodes Entities:       "the RJiodes Entities (as set fort on Attachment A) shall receive a full release
                                                 ~r chapter 5 causes of actio,n with respect to transfers made by the Debtors. to I
                                                  , e Modes Entities during the 2 years prior to the Petition Date provided.




             Releases for Debtors' offcers,
             employees aDd professionals
                                                      i . ¡
                                                 t~at, such release shall only apply to transfers expressly set forth in the
                                                 Debtors' statements offinancIal affairs as fied with the Bankrptcy Cour as
                                                 of August 1. 2009 or as disclosed in AttachmentB. I
                                                 ToO the extent peritted by applicable law, the Plan shall provide that, but for - i

                                                 (i~ the Rhodes Entities and their affliates; (ii) insiders of any or the Rhodes
                                                 Entities (except as to Thomas Robinson and    Joseph Schramm who were also I
                                                 ettioyees of     the Deb(OIS)~ (üi) relatives ofJames Rhodes. the Debtors' !
        I                                        o ieers, employees (including Thomas Robinson and Joseph Schrmm). and
        I                                        p~ofesionais, as of     the Petition Date, and Paul Huygens shall receive a I

        I
                                                 glnera1 releae from the Debtors ~ estates. i
             Exculpation:                        Tte rIan shall contain standard exculpation provisions.

        ---,
         Bond Replacement or                     T~e Plan shall provide for one of the following: (i) those perormance bonds
                                                                                                                                   i



            Indemnification:                     gUaranteed by the Rhodes Entities in favor of we Debtors to be replaced on a
                                                 re~ewal date by new performance bonds or, in the altemative, (ii) subject to
                                                 the Rhodes Entities being reasonably satisfed with the creditworthiness of
                                                 th~ Reorganized Debtors, which shan be satisfied solely as of the Effective
                                                 Date by th Cour finding that the Plan is feasible, the existig performance
                                                 bopds guaranteed by lie Rhodes Entities and such guarantees to remain in
    I
                                                 place. The applicable Rhodes Entity's agreement to remain a guarntor under
    I                                            th9 existing pefonnance bonds as such penormance bonds may be renewed
    I
                                                 sball be at no cost to the Rhodes EnlÍties (including, but not limted to, the
                                                 payment of bond premiums). In the event the Reorganized Debtors fail to I
    ¡
                                                 pe,¡orm their obligations underlying such renewed perfomiance bonds after I
    I                                            the! Effective Dale, the Reorganzed Debtors wil indemnify the Rhodes
                                                 Entitíes under such outstading performance bonds for damages incurred by
                                                 the! Rhodes Entities on account of their guarantee of such perfonnaiice bonds
    ,                                            soièiy as a result of the Reorganizd Debtors' failure to perform such
                                                 obJlgaiions subsequent to the Effective Date. The Reorganized Debtors shall
                                                 use~ commercially reasonable effort to replace all outstandig perfonnance
                                                 bo~ds backstopped by Rhdes Entities within 30 months of the Effective
                                                 Dart_ The Bankptcy Cour shall retain jurisdiction to resolve any disputes
                                                 aris1ng out of   this paragrph.
                                                      !
            HOA Board Seals:                     The Rhodes Entities shan ensure that de.~ignees identified by the Reorganied
                                                 DeBton; shall replace the Rhodes Entities on any HOA Boards Ùlat in any
                                                 way are related to the Debtors, Reorganized Debtors or their businesses and
                                                 Dec)arant rights or the like shall be transferred to the Reorganized Debtors or
                                                 their desîgnee(s).
                                                      i
            Licensing:                           The¡RhOdes Entities shan take commercially reasonable steps and/or enter
                                                 into any agreement'\ or similar documeniation reasonably necessar to ensure
,
                                                 the .Reorganied Debtors' continued use of    all of   the Debtors' applicable
,
                                                 pro~ssional license at no cost to the Rhodes Entities for a period of up to
I
                                                 twelwe months foJ1owing the Effective Date. Additionally, provided that the
                                                 paribs have executed this Mediation Settlement Term Sheet, Sagebrush
                                                 Entefprises, Inc. shall rescind by Septe~ber 25, 2009 ito. revocatio~ of its
I
                                                 indemnity of     the Nevada Contractors' license held by Rhodes Design &
L-
!
                                                 Dev~iODment Corporation to the extent such rescissìon does not negatively



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    I
                                            åffect the general contractor's licemie held by Rhodes Design & Development

                                             ,laim on behalf
                                            li0rporation     of anythat
                                                         provided   andSagebrush
                                                                        an claims asserted against Sagebrush
                                                                                  shall be entitled             as a result of
                                                                                                    to fie an administrative
                                            Sagebruh being the indemnitor thaI arose from and aftr the effectiveness of
                                            Sagebrush's recission of     its indemnity through the Effective Date, provided
                                            ¡t the allowance of such adminisirative claim shall be subject 10 resolution
                                                  Uie Bankrptcy Court and/or such other court(s) of competent jurisdiction.
                                             : e Reorganize Debtors shall indemnify Sagebrush for any and all claims
                                            alserted againSt Sagebrush as a result of       Sagebrush being the indemntor that
                                            arise from and after the Effective Date. Professional licenses include, but are
                                            nbt limited to the Nevada State Contractor's Board license, and any other

                                            jgs,nerai
                                              risdiction in which
                                                      business     the Reorganized
                                                               or similar licenses inDebtors conduct
                                                                                     any county~     business
                                                                                                 stale,       or own
                                                                                                        municipality orassets
                                                                                                                        other
                                             as of-the Effective Date. The Rhodes Entities shall use commercially
                                             r9asonable effort to maintain thrd party agreements with their rea estate
                                            btokers and sales agents.
                                              i
                                              ¡
        Rhodes EntÌtie.s' Claim             T? the extent allowed, the Rhodes Entities' Claims shall be treated in the
        Treatment:                          same class as and treated pari passu with General Unseured Claims,
                                            e~cluding Trade Claims. The First Lien Steerig Committee, any First Lien
                                            ~nder and/or the Reorganized Debtors shall have until sixty days following
                                            th, Effective Date to object to the proofs of claim fied by the Rhodes Entities
                                            in!the Debtors' chapter 1 i caes (provided, that, such objectìon shall not seek
                                            to fubordinate the Rhodes Entities Claim, if allowed). Neither the Litigation
                                            T rpst nOT the Reorganized Debtors shall commence any litigation against the
                                            R~odes: Entities until the Banptcy Court rules on the allowance of           the

                                            ~odes Entities Claims set forth in such proofs of claim (for the avoîdance of
                                            do bt, the First Lien Lenders are not bound by this provision). To the extent
                                            any statute of limitations to pursue any claims belonging to the Debtors
                                            ag4inst the Rhodes Entities would lapse, from executIon ofthis term sheet
                                            aml- prior to the Bankptcy Court' oS resolution of the allowance of the Rhodes
                                            Entities Claîms, as set forth in fied proofs of claim, the Rhodes Entities shall
                                            be tleemed to have consented to a tolling of the applicable statute of
                                            iin~hations until sixty days following the Bankruptcy Court's ruling on the
¡                                           allawance of   the Rhodes Entities Claims_

        Tax Treatment:                      Th~!lan shal be strctured in a tax efficient manner to the Rhodes Entities ¡
                                            to effectuate the benefits set fort in item 4 on Attachment C; provided) that
                                            thef shall be no adverse impact on the Reorganized Debtors or the First Lien
                                            Len;ders. The Rhodes Entities and the First Lien Steering Committee shall
                                            agrée
                                               ,
                                                  on the structure necessary to implement the tax treatmem on or before
                                            Sep!ember 25, 2009.
                                                  :

        Effective Date:                     ThelPlan Effective Date shall occur no earlier than Januar 4, 20 J 0_
                                                  t

        Rhodes Ranch Golf Course:           The1 term Rhodes Ranch Golf Course, as referred to herein, shall mean the
                                            gOlf! course situated within the Rhodes Ranch master-plaoed community
                                            laca ed in the southwestern Las Vegas valley.

        Conditions Precedent to Effective   J. 1le Bankrptcy Court shall have authorized the assumption and rejection
        Date:                               of e~ecutory contracts and unexpired leases by me Debtors.
                                                      I
                                            2. the Confirmation Order shall have become a Final Order in fonu and
I                                           substance
                                                 i
                                                      acceptable to the First LieD Steering Committee.
                                                      i

I                                           3. The most current version of the Plan Sunnlement and all of the schedules,
                                                      ,




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                                         dbcuments. and exhibits contained therein shall have been Fîled in form and
                                         slbstance acceptable to the First Lien Steering Committee.
                                           ¡
                                         4) The documents governing the New First Lien Notes, the Newco Charter,
                                         tle Newco Bylaws and the Stockholders Agreement ghall be in fonn and
                                         S1bsiance acceptable to the First Lien Steering Committee.

                                         5'í The Confirmation Date shall have occurred,
                                           i
                                         6.\ The First Lien Steerig Committee shall have de.'tignated and replaced
                                         eith existing Qualified Employee wiih a new Qualified Employee.
                                               i
                                         7. ¡ The currnt debt outstanding on the Rhodes Ranch Golf Course shall be
                                         refinanced on terms and conditions acceptable to Rhodes and the Firt Lien
                                         Steering Committee.
    I
                                         8. \ Copies of all Debtors) books and records shall have been delivered to the

                                         iodes Entities at no cost to the Rhodes Entities.
                                         9. \ The Arzona Asset.c: shall have been transferred to the Rhodes Entities (or
                                         thair designee) free and clear of all liens and claims purnuant to section 363(f)
                                         of ¡the Banlptcy Code on the Effective Date provided, that the non-First
                                         LiOD Lender/Second Lien Lender liens do Dot exceed $60,000.
                                                   !

                                         10.: The Debtors shall have assumed and assigned all executory contrct." and
                                         un~xpire leases related solely to the Arizona Assets to Ùie Rhodes Entities
                                         (orteìr designee), at no cost to Ute Debtors or the Reorganized Debtors. with
                                         an. ure costs associated therwith to be borne by the Rhodes Entities




                                                       ! .
                                                   !

                                         11 J The Rhodes Entities and the First Lien Steering Committee shaH have
                                         ag~ on the strctue neces.~ry to implement the ta structure benefits set
    ,                                    fo in Exhibit C.

I
                                         12. ¡ The Rhodes Entities aDd Firt Lien Steering Commitlee shall have agreed
I                                        on ~e Golf Course Security Propert.


                                         13. ! The Rhodes Entities shall have ensured that designees identified by the
                                         Reorganized Debtors shall have replaced the Rhodes Entities on any HOA
                                         Boards that in any way are related to the Debtors1 Reorganized Debtors or
                                         tbcit busineses and Declarant rights or the like shall be transferred to the
                                         Reorganized Debtors or their designce(s)
                                                       ;
                                         14. ¡The Rhodes Entities shall have performed all of their obligations. under
                                         the Plan including, without limitation, depositing $3.5 millon in Cash.i an
                                         acco~nl designat~d by the Debtors, with the consent of the First Lien Steerig
                                         Conimittee and trnsfering the equity in the entity that own the Rhodes
                                         Ran~h Golf Cours and related contracts and assets to the Reorganized
                                         Debtors pursuant to the terms of a stock transfer agreement in ronn and
I                                        ,substance acceptable to the Rhodes Entities and the First Lien Stecríng

i
                                         Committee,
                                                           (

                                         15. j All other customary Conditions Precdent to the Effective Date as
                                         deteirined by and acceptable to the Fjrst Lien Steeg Committee, in its sole
                                         dio;crftion.
                                                           ,

        Waiver of Conditions Precedent   The tirst Lien Steering Committee may waive any of the conditions to the

                                                           i


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         to the Effective Date       Effective Date at any iime. without any notíce to partes in interest and
                                     without any further notice £0 or action, order, or approval of the Bankrptcy
                                     Cøurt, and without any formal action other than proceeding to confirm or
                                     cónsunuate the Plan; provided, that the Firt Lien Steerig Committee wil
                                     nOt waive the conditions precedent in items 6 through 12 above if the Rhodes
                                     Entities shall have complied with all of their obligations hereunder and in the
                                     lJ;an by the Effective Date (or such earlier date specifically set forth herin).
                                     In! the event the Rhodes Entities fail to comply with any of their obligations
    I                                heireunder or under the Plan by the Effective Dale and fail to cure such
    I
                                     al(eged breach wilhin ten (10) days' written notice to the Rhodes Entities,
    I                                then the First Lien Steering Committee shaH be entitled to fie a motíon on at
                                     idst seven (7 days notice to (i) determine that a breach has occured (except
                                     thåt the failure of the paries to agree on the refinancing of the Rhodes Ranch
                                     Gqlf Coure solely as a result of the Firt Lien Steering Committee acting
                                     unreasonably or in bad faith shall not be deemed a failure of the Rhodes
                                     Eqtities to comply with their obligations hereunder or under the Plan), and the
                                     ~odes Entities reerve lheIr right to object to such motion; (ii) modifY tlie
                                     Phln to remove any provisions hereof that were included for the benefit of the
                                     ~ode.'" Entities; and (ii) consummate the Plan, as modified. Upon entr of
                                     an ¡Orde of the Bankptcy Court finding a breach by the Rhodes Entities and
                                     au¥ioriing the modifications to the Plan to remove any provisions that were

                                    i included for the beefit of the Rhodes Entities, the First Lien Steering shall
                                     be ~uthorized to make such modifications and consummate the Plan.
                                        ,

        Modifcation 4)f the Plan     Thè First Lien Steering Committee shall not modify materially the tenns of
                                     the! Plan without tiie prior consent of the parties to this tenn sheet so long as
                                     suc~ parties have complied with all of their obligations hereunder and under
                                     theiPlan by Januar 4, 2010 (or such other date specifically set fort herein).
                                            ;

        Plan Support:                Th~ Debtors and Rhodes Entities shaH only support a plan of reorganization
                                     file? by th First Lien Steering Conujttee containig all of the provisions of
                                     ths¡ Mediation Settlement Tenn Sheet and consistent with the Plan to wbich
                                     this! tenn sbeet is an exhibìt and wiB not file a competing plan of
                                     reoimanization or support any other plan of reorganization filed in the
                                     Deqtors' chapter 11 cases.
                                            i

        Golf Course Transfer:        On ~he Effective Date. the applicable Rhodes Entities shall transfer their
                                     equity interests in the entity that own the Rhodes Ranch Golf Course to the
                                     Reo~ganized Debtors (together with any equipment, golf cart... contrcts or
                                     other assets determined by the first Lien Steerig Committee to be necessary
I
r                                    for te operation of the Rhodes Ranch Golf   Cours) pursuant to the tens of a
                                     stoc transfer agreement in form and substance acceptable to the First Lìen
I                                    SteeTing Committee and Rhodes, subject to any outstanding debt on the
                                     Rhodes Ranch GoJfCourse. The stock transfer agreement shaH contain
                                     reprtsentations by the Rhodes Entities that the entity that owns the Rhodes
                                     Ran6h Golf Course docs not have any liabilities other than ordinary course
                                     liabi)ities related to the Rhodes Rach Golf Course and indemnification
I
                                     pro\(isions in favor of the Reorganzed Debtors by the Rhodes Entities for any
                                     non-brdinar course liabilities. In addition, prior to the deadlne for fiing
                                     objeçtîons to the Disclosure Statement. the Rhodes Entities shall provide the
                                     Firsi¡Lien Steering Committee with a list of   all liabilities of the entity that

                                     own$ the Rhodes Rach Golf Course. a lien analysis and copies of an
                                     cont~acts related to the Rhodes Ranch Golf Cours and to which the entity
                                     that ~wns we Rhodes Ranch Golf Course is a pary. each of which mu.'ll be
                                     acce~lable to the First Líen Steering Commíttee.

                                     The 4xistinp" debt outstandinp on tlie Rhodes Ranch GoJfCourse shall be


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                        r~financed on or before the Effective Date, for a period orno less than twelve
                        (~2) month from the Effective Date, on terms and conditions acceptable to
                         ~odes and the First Lien Steering Committee. The parties wiH work together
                         íii good faith to refinance the existing debt. The Reorganized Debtors shan
                        pay the resonable costs and expenses associated with the refinancing;
                        plovided. that the tenns of such refinancing are acceptable to the First Lien
                        Steering Committee. The First Lien Steering Committee acknowledges that
                        th loan documentation may provide Ù1at, upon the transfer of the Rhodes
                         R~nch Golf Course to the Reorganize Debtois on the Effective Date,
                         aqdilionaJ collateral from the Reorganized Debtors may be required. The
                       i R.odes Entities shall transfer to the ReorgalÙzed Debtors on the Effective
                                                                                              any
                       I Ol:bt any contrcts related to the operation of and revenue generated by

                        c~l1 towers located on the property ofthe Rhodes Ranch GolfCowse. !'ny
                        fuhds received after July 31, 2009 from the i.. Vegas Valley Water District
                        orlother similar entity as an incentive for converting the golf course from a
                        gr~en coure to a desert course shaJl be used for operating expenses
                        asSociated with the Rhodes Ranch Golf Coure, with any excess to become
                        pr~pert of the Reorganized Debtors on the Effective Date.
                           i
                           ,

                        Rhodes and/or his designee shall have the absolute right to repurchase the
                        ~odes Ranch Golf Course from the Reorganzed Debtors at eight (8) years
                        from the Effective Date for $5.9 millon in cash. The Reorganzed Debtors
                        m~y require Rhodes to purchase the Rhodes Ranch Golf Course any lime
                        beIWeen four (4) and eight (8) years from the Effective Date for $5_9 milion
                        in çash provided that the Reorganized Debtors shall provide Rhodes with at
                        Jeast one year advance notice of its intent to sell the Rhodes Ranch Golf
                        Co~rse back to Rhodes. Such transfer shall occur on the applicable
                        aiirpversary date of the Effective Date. For the avoidance of doubt, if the
                        Recprganized Debtors put the Rhodes Ranch Golf Course to Rhodes in
                        accprdace with the terms hereof and Rhodes fails to comply with his
                        obllgation to purchase the Rhodes Ranch GolrCourel Rhodes shall be
                        deefted to have forfeited his option to purchase the Rhodes Rach Golf
                        Co~rse_
                               i
                        On ¡the Effective Date, Rhodes~s obligations to comply with the repurchase
                        shaD be secured by either (i) $500,000 in ca in an escrow account or (ii)
                        propert worth at least $2 milion (the HGolfCourse Security Proper"), with
                        the jvalue of such property to be agred to by Rhodes and the Fírst Lien
                        Ste~ring Committee or otherwise valued by an independent third party
                        app~aIsa finn acceptable to both Rhode and the First Lien Steering
                        Con)mjttee (except Cushman Wakefield). In the event that Rhodes does not
                        meet the repurchase request. provided that the Rhodes Ranch Golf Course is
                        in tlie stadard condition (defined below), then the Reorganized Debtors shall
                        be ~titJed to liquidated damages in the fonn of security pledged (i.e., the
                        $500,000 or the Golf       Course Security Property)_
                             I

                        So ibng as Rhodes has nol defaulted on his obligation to repurchase the
                        Rlo~es Ranch Golf Course, Rhodes shaH have the absolute and sole
                        disctetion 10 repJace U1e Golf Coure Security Propery with $500,000 in cash
                        oil 30 days wnuen notice to tbe Reorganized Debtors. Upon deposit of the
                        $5001,000 in cash, the Golf Course Security Property shall be released to
                        Rho4es or his designee. Noiwithstanding anythig to the contrar contained
                        herein. if the Rhodes Ranch Golf Course is not maintained with substantially
                        the s4ine perfoffiance and rating criteria at the time of the repurchase request
                        as v4rified by an independent third par rating agency as it was on th
                        EffecJive Date ("Standard Condition"), James Rhodes can (i) require the


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                             R¡leorganized Debtors to cure any conditions to return the Rhodes Ranch Golf
                             ~ure to its Standard Condition (provided, that the cost of such cure does
                             n t exceed $500,000), or (ii) choose not to purchase the Rhodes Ranch Golf
                             Cpurse. Upon either the repurchase of the Rhodes Ranch Golf Course or ihe
                             "'itten decisíon to not repurchase the Rhodes Ranch Golf Course (in
                             aqcordance with the precedmg sentence). me Golf Course Security Propert
                             0\ the $500,000 Cash (if not applied to the repurchase of the Rhodes Ranch
                             Gflf Course) shall be returned to Rhodes within 30 days.

                             Or the Effective Date, the Reorganized Debtors shall record a memorandum
                             of¡ agreement against the Rhodes Ranch Golf Course to evidence the above.
                               !
     Golf Course Audit:      Di\ring the period from September I, 2009 through September 23, 2009. the
                             R.odes Entities shall provide access Lo lhe First Lien Steering Committee or
                             its! designee to undertake a financial and operational audit of the Rhodes
                             R~nch Golf Course. The results of such audit must be acceptable to the First
                             Litn Steering Committee in its sole discretion and evidence, among other
                             thigS~ that (he financial pedonnance of the Rhodes Ranch Golf Course is
                             su ficient to pay operating expenses and service the debt on the Rhodes
                             RarCh Golf Course without the need for additional liquidity.

     Cash Payment;           Th~ Rhodes Entities shall make a cash payment to the Reorganized Debtors
                             of$3.5 milion in cash on the Effective Date.
                                   !

     Ari7.ona:               On\the Effective Date, puruant to an asset transfer agreement in form and
                             su~stance acceptable to the First Lien Steering Committee and the Rhodes
                             Entities, the Debtors shan transfer Pravada and the other Arizona assets set
                             forf on Attchment D hereto, pIns the Golden Val1èy Ranch tradename to
                             thelRJodes Entities free and clear of aUllens. claims and encumbrances
,
                            r pur~uant to section 363(1) of the Banptcy Code; provided, that the non-
                             tbaa such assets shall not include assets owned by Pinnacle Grading located in
                           I FirS! IJen
                             Ariiona    Lender/Second
                                      and                Lienasociated
                                          related contracts   Lender liens
                                                                       withdo
                                                                            thenot exceedDebtors
                                                                                assets..  $60,000; provided
                                                                                                 shaH
                             proirde James Rhodes notice of any proposed sale of the Pinnacle as...ets, and
                             Jarres Rhodes shall be grated a right to bid on the sale of such assets within
                             i 0 4ays of such notice. Rhodes Entities shall permt storage of      Pinnacle

                             Grafting equipment at current locations at no cost to the Reorganized Debtors
                             for ~ periOd through six months foHowing the Effective Date.
                                       ;
                             All bxecutory contracts and unexpired leases associated solely with Arzona




lián Filng:
                                       ' ._=-
                             shall be assumed and assigned to the Rhodes Entities (or their designee), at
                             no ~ost to ùie Debtors or the Reorganized Debtors and aU cure costs
                             assobated therewith shall be borne by the Rhodes Entities.
                                       I

                             The Debiors, the Rhodes Entities, the Firt Lien Steering Committee. the First
                             Lie~ Agent, the Second Lien Agent and the Creditors Committee shall agree
                             not to fie a plan of reorganization until the earlier of (i) the date the pariies
                             agre~ on the lerms of a plan of reorganiztion (and accompanying disclosure
                             statep,ent) or (ii) September 25, 2009.
                                           i
    Cash CoDateral:          The First Lien Steering Committee, Firt Lien Agent and Second Lien Agent
                             wil Kgree to the continued use of cash collateral on exisLÎng terms and subject
                            to 4               agred upon budget, though Januar 11, 2010.




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    j Trâdem9rks Rnd Trode N~mes                   '\yiì1ún the earHer ofibiny (30) days following: (ì) upon completion orthe
                                                     i.uildoui of all of IlieReorgnnizcd DebtorS? homebuilding asS,Cls and
                                                    Îiiyen!ory-(icgardlc$;$ of when :l!Jclnlsscts and inventory were acquired), or
                                                     (i~) l?~lk sale"of'tlie remaining ;nvenlory ofth.Rcrgtlnized Debtors. Ù1C
                                                    '~orgCtn¡it;d Debtors ;;hnll tmii.tfer fo JafJe.i:Rhtdc... (or his de~ignc)lh
                                                      trdeniarks and trdcnamcs set runh on         Auadmient E.
                                                          ¡
         Trade Claims Aniilysi,s                      The Finn Lien Steering Committee; the -Debtois and the Creditors Committèe
                                                     ,,~U agrec:, prior to the hearing 011 theDisclmmre Stáicmcnt, (i) which fied or
    I
                                                      !!qhedu1ed c1aiii1:s:shnll be c1;iificd a1i Trade Clajmsand (ii) on a.prCKèdure
                                                      fot,th~,rcc.oncmatioJ) uf1'ridc Clajni~ rOhepnics arc Unahle to agr on (ì)
                                                      o((ii)a.vc in a.dvßnce of      the DisclosurStat,ennt hci.ngi1he BMkptcy
                                                      CÇiun shall resolYt any disputCS11l tlic'OisclosureSlalement hearing.
                                                          ,

I ""~~a..,,.,                                        TIie Reorganized Dcbtorsshall'no\ seekio avoid prcpetition trnsfei'to ._-
                                                     h~ldcts nfnllowd Trade Claims under     BaDkruplcy Code section S~-7 to the
I Holtlers of AUo:wed Trade Cll1lrÐS
                                                     exien.t ihe reslting claim from the avoidaiiccof'$uçh.ca profeicniialtramfer
I                                                     WÒiJld likewis be an allowed Tradc'Claï'm.. .
                                                     hi:thoevcni"thc-Siiinlcy Engineeng: Liiigitionjstcsolv~d 'either by judgment
                                                     or~~~i:mtnt in a manner'favorable to thê Reorgnm:i.e Debtors -and s~èh
I Stnole)' Englnoerlrig                              r~~Qluiion doC$ nol provide for Çiish considertuion 10 be T~~jved by the
I
                                                     R~rgßnized Debtoni and Second Liei Lenders.. tbe Reorgnnv.e Debtors-an~
;                                                    tlt! S~nd U~nAgen( sliall engage ¡"good faith'n~.gotiations lo'ensure thai
                                                     ùi~'Secoud Lien lenderS reivc co:~idcrtion eauh:àlent to 50% of the net
i
                                                      vlllue of such .reilution nod to -determine .ihetiming, of paymerl o(atty:such
                                                     coisiderntion;. lntbe eyem the .Reotgìînizd Debtors _æithe S,econd Lien
i                                                    Agent arc uru~ic toagrc on lIiC.8J1lOuni or foin,or~iich-considenltion,'lhc
j                                                   .pÍlit~s willsubi-nii the maIler to binding nrbìliátion with th~ costs thcrçofto_
                                                     _iie split evenly among-the Rcorgani1.ed Dtb.lors:ttnd thc"Secorid-L~n Agci:i
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        Dalc-d: September 2S~ 2009

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        By;                                                                    lly:____
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        Tide:                                                                  Title:
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         Licn Leni/i!r.! .                                                     Umòl:CU1'i.'dOwliors

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    B200277     v. 13                                                      7
 Case 09-14814-gwz                Doc 715-1                Entered 11/12/09 16:33:48                              Page 9 of 27



                                                                                                           EXECUTION COpy

   Trademarks and Trade Names               Withn the ealier of thy (30) days followli: (i) upn completon of                         th

                                            binldoui of all of th Rerg Debtors' hoinbuildli asts an
                                            iivcnry (regarless of when sncb ostsand iiventory were acq),or
                                            (ii) bulk sae of the remaining inventory of th .Reorgan DeblOrs, th
                                            Réoized Debtors shall trfer 10 JiiRldes (or his degnee) the
                                            irdèar andirdenames set fort on Altcl¡t E.

  Trade Claims Ansly8Í                      The FilSt Lien Steng.Commit~e, the Dltor an the Credito ConiiUee
                                               agre, prior to the heng on the Disciosue Sta~enl; (i)wlch filed or
                                            will

                                            schedied claim shan be classified as Ti:'Cla and (ü) on a procere
                                            for threuciliation ofTi: Cl. If th panes ar Wible to age on (i)
                                            or(ü) àbove in advance of the Diselosure Stawient~ th Bantcy
                                            Cour shall reolve any disputes al theDisclos Statement li.

  Preforenae Claims Against                 Tb Reorganed Debtors shall not$0toaVQidpreptition trfi to
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                                        . exteiitb re\tig claim from the avoidaci ohuch a prfetlí iisfer
                                            would likeise be an allowed Trae Cli
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                                            .or.'seeii in a iRerfavorable to th Ileorganed Deblorsa¡d ¡mch
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                                            relntiondoe. nitprovide for Ciih co¡ide¡:tionto bei:ve by                          the

                                            Reorgan Debtors im .Send Lien LeØl, ile Reorgan Debtors and
                                            the Secnd UenAgent shall engage ingQOd fath negotitions to eltii thi
                                            thSeoond Uen 4Dder reive cosidetion eq\!leil to 50% of                             th net
                                            value of such reSlution and 10 determin tl1lg of paymen òfany such
                                            condelion Ji tle eVent ile ReorganzepebtolS ana                           the SecondLien
                                            Aeërit are \Ub1e"to agr on the amunt or fOni ofsucb.- co~idertion,;th
                                            partieS willsubIii the mattr to binin aritrtioiiwi th cOS _fio
                                            be split evenly among the Reorg Debfu an th Sec Lien Agen
                                            (with the costs of the Secon Lien. Agent to         be Ilimbu frm the
                                            coiiiderti to be disbuted to            the Sec          Lien Lendor on      acunt of the
                                            Staiev.EnJtnce~ Liti~átcIìI. .
Datoo: Seølember 25;.2009

APPROVED

By:
Name:
Tí~e:
Counsel to the FIr~t Lie'l S(eGr/'¡g :çDmmittee~ with
 authority from eoeli of/he member. thereof

                                                                      APPROVED
By:                                                                   By:
Nain: J.                                                              Name;
Ti~e: ~yV                                                             Title:
Counl     to WelisPargo,N.A" os Agenfor ile Second                    Coun.el to the Offial Commitee of
 Lien Lenders                                                         Unsecured Credltor

APPROVED                                                              APPRÒVED
By:                                                                   By:
Name: James.M. Rhodes                                                 Name: James M. Rlio
Title: Prsidcnt                                                       Title: Presdent.
Th Rhodes Enties                                                      Debtors tu,d Debiors.;in.:Po~fQn-


820(277v.13                                                       7
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     Trademarks aDd Trade Name,            Wìtl 111e eaer of lhirt (30) day¡ following: (i) upon completon of1he
                                           pFidout of aU of
                                                               the Reorganze Debto' homcbìldig a.~ and                  L
                                           inventory (rerdles ofwben such nsselS an inventor were acquired), or
                                           (~) bulk Sale orthe remainíng inventory of th Rergani.zed Detors, Ùle
I                                          Rfrgaize DebtorS 5hà11 trfer to Jam Rhod (or his des~iee) th
                                           trrdein àDd treiames set fort on Attchmen E,

    Trade Claims AnaÎysis                  Th First L,en Steerin Committee, th Debtors an(i the Creditors Coriiuee
                                           wl agr, prior ki Uie heag on the Disclos StateeIL (í) which filed or
                                           sceduled clas shall be clased as Trade Clais and'(ii) on a procedure
                                           flt the reconcilation of    Trae Clams. If   the pares ar unble to agr on (i)
                                           o.(ü) above in advace oflhe Disclosur Statement       hear, the BanJcptcy
                                           C?urshall relve any disputes at the Disclosure Stateent hearg.
                                             i
    Preferenc~ Clais Against               The ReOrgnize DebLoIS shall not seek ro avoid prcptítion trnsfer to
    Holders of AUOlVt'd Trade Claims       hqlde. of allowe Trade Claim under Bantcy             Code seon 547 to tbt
                                           CXteDt the resltig claim from the avoidace of such a preferûal trsfer
                                           wóuld likewise be an allowed Trae Claim
    Stanley Engieering                     In,~hc evt the Staey Enginee Litigation is resolvçd either by judgment
                                           or~ettle'met in a maer favorable 10 th Reorganiz De and such
                                           rdoiution doe not provide for Cash considertion'to be,recive"by th
                                           Re6rganize Debtors an Second Lien Lede. lh Reorgaize Debtors an
                                           th¿ Se:nd lien Agent shal engage in goo faith negonatins to ei tht
                                           thJ, Se.eod Lien Lender recive considertionequ~ to 50% of1h 'O"et
                                           value of su:eh reslution aDd to detein th tiing ofpay,en of any such
                                           co~ideralion. In the event ~ Reorgan Debtors and ,th Seond Lien
                                           A&ctare wiabc to agree on the amout or form of ~cl coderation th
                                           p~ wil subm ~e i:Elttf: to ti.aìng arbittion with the çosts thereo ro
                                           be $plit èVly amng th Rerganized Debtors an the Sec Lien Agent
                                           (wl the costs ofihe Secnd Lien AgeOl to be ~nibur fróm th
                                           ~~~ertion to be distributëd to the Secnd Lien L:ndm on accunt oftbe
                                           S cv Enginring Uligaiion)
    .Dated Senteniber 25. 2009




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    CoulJselio ¡he i-irst Lien Steering Committee, with
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    APPROVED

    By:
                                                                    AP~~
                                                                    By: -
    Title: ¡
    Na'e:
    COU1se! to Wells Fargo. N.A., asAgenlforjheSecond
                                                                    Name: ::--~ i;llll ?..o"l~
                                                                    1íi1e:~_""Ib.. """ -
                                                                    Counsel to ihe Official ComiiJee IJI
     Lien I.enders :                                                UnsecunuJ Creditors

    APPROVED                                                        APROVED
    By:                                                             By: _
    Name: James M. Rhodes                                           Name: James M. Rhodes
    Title: President                                                Title: Prdent
    The   Rlodes Enii,ies                                           Deb/ars an Debiors'-in-Pos~e.siol'



    8200277 v.13                                                7
  Case 09-14814-gwz                 Doc 715-1      Entered 11/12/09 16:33:48   Page 11 of 27




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                                       ATllACHMENT A - RHODES ENTITlES
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    James M. RJiodes
                                           I
                                           i
   Glynda Rhodes                           I



   John Rhodes

   James M. Rhodes Dyna8ty Trut r


   James M. Rhodes Dyna.'ty Trust II
                                           i
                                           i
   JMR Children's Irrevocable Educational lIiust
                                           ,

   Truckee Springs Holdings, Inc.          i
                                           i

   Sedora Holdings LLC

  Gypswn Resources, LLC

  Tulare Springs Holdings, Inc.

  Escalante-Zion Investments. LLC

  llH Trust


  Harony Homes, liC

  T ock, LP

 Tapemeasure, LP

 Joshua Choya, LLC

 American Land Management, LLC

 South Dakota Conservancy. LLC

 Meridiau Land Company, LLC

 Yucca Lad Company, LLC

 Sagebrush Enterprises, Inc.

Rhodes Ranch, LLC

Westward Crossing, LLC

Pinacle Equipment Rental, LLC

Desert Communities, IDC.


Spirit Underground, LLC



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      Tropicana Durango Investments,
                                        Inc.   i

                                               I
      Tropicana Durango, Ltd. I
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     Dirt Investments, LLC I
     Underground T echnologics, LLC I

     South Dakota Aggregate and Engineeri+, LLC

     Freedom Underground, LLC I
    Jerico Trust ¡                             ,
                                               ;
    Canberra Holdings, LLC                     i

                                               I
    Custom Quality Homes, LLC
                                               !
    Rhodes Ranch Golf,lnc.

   lD Interior Design, LLC




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                                                     9
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                                           I
                                                               ATTACHMENT B
                                           i

             t. The foIlowîng distributions teTe made and permitted pursuant to terms of Credit Agreement:

 Date                                     Amount                                  Distribution Comments
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                                               i                                                                 I

4ii 7/2007                                $\2,705                                 Hentage -? Sedora

 4/17/2007                                $, 07,295                               Heritage -? Sagebrush

 5/412007                                 $ti6,939                                Hentage -? Sedor.
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                                          $?43,06 i                               Hentage -? Sagebrush
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 TOTAL                                    $),750,000
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             2. Trasactions with Spint UndJrground and Freedom Underground (as set fort below):
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8200277   v. 13                                                     10
        Case 09-14814-gwz                     Doc 715-1            Entered 11/12/09 16:33:48                        Page 14 of 27




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                                                   ! ATIACHMENTC
 1. The lenders would form a new Jitity (UNewco'j. Newco would be either a corporation OT a limited
 liability company. The First Lien loans J,ould be deemed contòbuted to Newco.
                                                   I

 2. Newco would purchas all Oflht interesls in Heritage fim its members for $10.00.

 3. Revenue Ruling 99-6 provides t~1 on a sale of all of                        the interests of a parerhip for tax puroses (which
 would ìnclude a limited liabilty company), the sellers are treate as sellng 4'parersbip interests". On the other
 hand, the buyer is deemed to be buying tle assets of the partnership. As a resull., from the Heritage members'
 perspective they would be treate as sell~g an of the interests in Heritage. Newco would be treated for federal
 income tax purposes as purchasing the 99% partership interesls in each of the limited parerhips held by Heritage
 and the 1 % partership interest held bY~Ckee Springs. Furter, asi;urning that the general partner of ea of the
 limited parerships in turn sens its gener I parership interests to Newco. Newco would be deemed to have owned
 the real estate owned by the liited pa cships (since each of                    the parerships would have terminated for federal
 income la purposes). At that point New 0 would own all oftbe real estate.

 ~. ... For fed~ral income tax purpses.
                                           leach Heri~ge member w.ould h~ve a gain equal to th ~xcess of the .
 liabilities of Rentage allocable to such mt1ber (which the trsaction reheves the member of) minus the member's
 ta basis in its Heritage interet. This gairt would be treated as long-term capita gain (except to the extent Heritage
 holds, directly   or indirectly, assets subject       !to Section 751 of     the Code, generally inventory or receivables arising
 from the sale of inventory). i
                                                       i

 5. Therefore, contemporaeous WjtJ or subsequent to Newco's purchase of                            the Heritage membership
 interess, The Rhodes Companies, LLC - 1e general parner of each of                      Tick, LP; Glynda, LP; Jackkife, LP; LP;
Batcave, LP; Overflow, LP; Wallboard, L~; and Chalkline, LP, - shall selI its genel parership interests in such
entities to Newco for $1.00. AlternativelYi the membership interest in The Rhodes Companie.c;, LLC may be
acquired from its sole member - Sagebn Enterprises. Inc. - in consideration for releae of its obligations under
the First Lien Lender Claims. !
                                                           i

6. Newco's members may agree to ~ntinue Newco as an LLC, fie a check the box election effective the day
after the Effective Date to treat Newco as ~ corpration for ta puroses. or convert inlo a corporation as of the day
after the Effective Date. !
7. The holders of the Heritage memBership interests and Newco win report the sale and purchase of the
Heritage membership interests in accordan~e with Revenue Ruling 99~6, 1999. i CB 432,

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                                     IATT ACHMENT D - ARIZONA
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  RHODES ARIZONA PROPE~T1ES
                                         ,




                                                                               1825 S AZTEC
  RHODES ARIZONA PROPERTIES LC                         306-24-115      20.25 RD                    Model Home
  RHODES ARIZONA PROPERTIES LC                         306-24-116      20.24 1807 AZEC RD          Model Home
  RHODES ARIZONA PROPERTIES LiC                        306-63-017       7.35 4536 W DORA DR        Model Home
  RHODES ARIZONA PROPERTIES LiC                        306-63-018       6.83   4528 W DORA DR      Model Home
                                                                               1156 S AZTEC
  RHODES ARIZONA PROPERTIES ~LC                       306-42-008A      19.92   RD                  Dirt
                                                                               1094 S AZEC
  RHODES ARIZONA PROPERTIES ~LC                        306-42-001        40    RD                  Dirt
                                             ¡        Total Acreage   114.59

  Inside Pravada
 Pravada and all parts of Pravada 'yin6 within Sections 2, 3, 4, 9 and 10, all in Township 20 North, Range 18

  numbers: I
 West of the Gila and Salt River Base and Meridian, Mohave County, Arizona and within the follOWing APN



                                                                                                      Partially
 Rhodes Arizona Pro ertìes                             215-1-116                                      Graded
                                                                                                      Partially
 Rhodes Arizona Pro erties                             215-01-113                                     Graded
                                                                                                      Partially
 Rhodes Arizona Pro rties                              215-1-114                                      Graded
                                                                                                      Partially
 Rhodes Arizona Pro rties                              215-01-111                                     Graded
                                                     Total Acreage 1,306:!


                           Arizona Ø¡ersonal Property
                                                 ;

                                                                         Serial
 Comouters                                                               Number
 HP 5150                                                                 2UA6030J6N
 HP 5150                                                                 MXL615027R
 HP 5150                                                                 2UA6030J57
 HP WX4400                                                               2UA70608F7
 HP WX4400                                                               2UA70608HV
 HP XW4200                                                               2UA54215Gl
 Dell                                                                    GZOGR61

 laptops


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 HPNX6125                                                         CND5403L Y
 HPNX9600                                                         CNF6071GBR

 Printers
 HPlaser Jet 4250                                                 CNBXD06564
 HPLaser Jet 4101                                                 USLGY26030
 HPLaser Jel.41 00                                                USLGY42771
 HPLaser Jet 1320                                                 CNHC620168
 HP color Laser Jet 2600                                          CNGC64C1KC
 HP color Laser Jet 2804                                          JPBG532058
 HP color Laser Jet 5550                                          JPDC4D2072
 HP offce jet 6310                                                CN639BGOYK
 HP Photosmart D5160                                              MY67Gll0DC
 Lexmark 7001-001                                                 890CSTB
 Lexmark 7001-001                                                 890CD3N
 Super G3 Pnnter-Scanner                                          J8141101150

 Fax Machines

 2 - HP offce    jets 7310 i           i


 6 of the printers and the fax machine~ have copier capabilties
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 M;scllaneous EauiDment i
 Dell Power Edge Server 2850 ¡                                     85172579422
 HP Design Jet    1 055CM Plus Plotter ,
 10 Battery Surge boxes and 10 powef strips
 11 -computer monitors 20" flat scree~
 4 calculators i
 14 telephone owned by Rhodes !
                                           \
 Offce Furniture I
 2 - drafting tables I
 3 - work tables with open shelves for ~Ians
 12 - file cabinets !
      2 - 5 drawer 63 x 18
      1 - 3 drawer 36 x 20
      7 - 4 drawer 18 x 48
      2 - 4 drawer 20 x 48
 2 - 3 shelf wood bookcases 1i
 4 - 4 shelf bookcases: (2) metal (2) w90d
 1 - hanging file for plans I
 1 - metal storage cabinet, 2-door, 4 s~elves
 2- wooden storage cabinets 2-door, 1 ~helf
 11-desks: (1)    metal   (10)   wood i
 12 - desk chairs :
 12 - guest chairs
 5 - stacking chairs
 1 - 4 x 6 rotating white board
 1 - garbage can



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 10 - waste baskels \
 3 - 6 foollables
 2 - melal sforage shelves- dimensiobs S'h x 3'w x 18.S"d
 2 - plastic storage shelves- dimenlbns 6'h x 3'W x 18" d
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 Executa. Contracts and Unex ired Leases
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To be provided by Plan Supplement: ate but shall include, bul nol


 agreements I
 limited to all development agreements and subcontractor


 Trademarks and Tradenames
 Rhodes Arizona Properties
 Rhodes Anzona
 Golden Valley Ranch
 Pravada

 Intaniiibles I
All architectural and engineering dra'Yings, plus work product associated
with Pravada and Golden Valley Ranph.
All agreements with municipalities anti
                                     ,
                                        utillies with respect 10 Pravada and Golden Valley Ranch.
Arizona general contractots license. \




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   ATTACHMENT E - TRENAMES.IRAEMARS
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  R(logo) I
   All Rhodes Lead Horne!
   Rhodes Home.


  RJodeMa~ter i
  R (logo) Rhodes Homes (owned by Rhodi" Homes, Inc.)


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                                                   15
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                                               EXHIBIT 2




                                               EXHIBIT 2
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                                                         EXHIBIT 2

                      Summary of           Terms and Conditions ("Term Sheet'') for
                    $50 Milon New First Lien Notes ("New First Lien Notes")

                                                              TERMS

Borrowers:           Newco, Heritage Land Company, LLC; The Rhodes Companies, LLC; Rhodes
                     Ranch General Partnership; Tick, LP; Glynda, LP; Chalkline, LP; Batcave, LP;
                     Jackknife, LP; Wallboard, LP; Overfow, LP; Rhodes Ranch Golf and Country
                     Club; Tuscany Acquisitions, LLC; Tuscany Acquisitions II, LLC; Tuscany
                     Acquisitions II, LLC; Tuscany Acquisitions IV, LLC; Parcel 20 LLC; Rhodes
                     Design and Development Corp.; C&J Holdings, Inc.; Rhodes Realty, Inc.; Jarupa
                     LLC; Elkhorn Investments, Inc.; Rhodes Homes Arzona, LLC; Rhodes Arizona
                     Properties, LLC; Tribes Holdings LLC; Six Feathers Holdings, LLC; Elkhorn
                     Parners, A Nevada Limited Partnership; Bravo Inc.; Gung-Ho Concrete, LLC;
                     Geronimo Plumbing, LLC; Apache Framing, LLC; Tuscany Golf Countr Club,
                     LLC; and Pinnacle Grading, LLC, each as may be reorganized pursuant to a joint
                           reorganization to be proposed by the First Lien Steerig Committee.
                     plan of




New First Lien
Notes:               $50 milion in first lien secured notes. Once repaid, the New First Lien Notes
                     may not be reborrowed.

Guarantors:          All of    the Borrowers.

Agent:              To be determined ("Agent").

Lenders:            The lenders ("Lenders") under the first lien Credit Agreement dated as of
                    November 21, 2005 (as may have been amended from time to time) among
                     Heritage Land Company, LLC, The Rhodes Companies, LLC, and Rhodes Ranch
                     General Parnership, as the Borrowers, the Lenders Listed Therein as Lenders,
                     and Credit Suisse, Cayman Islands Branch, as Administrative Agent, Collateral
                    Agent, Syndication Agent, Sole Bookrner and Sole Lead Arranger, and the
                    other loan documents (as defined in the First Lien Credit Agreement) (as may
                    have been amended from time to time, the "Existing Credit Facilty").

Maturity Date:      The date that is the sixth aniversar of             the Effective Date ("Maturity Date").

Purpose:            To refinance a portion of the Existing Credit Facility and satisfy a portion of the
                    Lenders' claims under the Existing Credit Facility.

Security:           The New First Lien Notes and all guarantees thereof wil be secured by first
                    priority perfected liens on substantially all existing and after acquired property of
                    the Borrowers.

Interest Rate:      "Cash Pav Rate": LIBOR plus 2.00% per annum; or



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                      "PIK Rate"; LIBOR plus 5.00% per annum.


Interest Payments:    Interest on the New First Lien Notes shall be payable in Cash quarterly in aJTears
                      at the Cash pay rate of LIB                      OR +2%; provided that if the average of the
                     Reorganized Debtors' unrestricted consolidated Cash as of the last day of each of
                     the two immediately preceding consecutive quarters is less than $15 milion or if
                     the unrestrcted consolidated Cash as of the last day of the immediately preceding
                     quarer is Jess than $ 15 mi\1on (collectively, the "Cash Interest Threshold"), then
                     the Reorganized Debtors shall have the option to capitalize the amount of interest
                     due in excess of LIB                 OR for the immediately preceding quarter, with such
                     capitalized interest to be capitalized on such interest payment date, and all such
                     capitalized interest shall be due on the next interest payment date to the extent the
                     Cash Interest Threshold is met after giving effect to the payment of interest and
                     capitalized interest or as the Reorganized Debtors otherwise elect. All capitalized
                     interest not previously paid shall be paid on the Maturity Date. LIBOR shall be
                     subject to a cap of 2%.

Mandatory
Prepayments:         Mandatory prepayments of                   principal shall be made by the Reorganized Debtors if
                     the average of the Reorganized Debtors' unrestricted consolidated Cash as of the
                     last day of each of the two immediately preceding consecutive quarers is greater
                     than $15 mi\1on or if the unrestrcted consolidated Cash as of the last day of the
                     immediately preceding quarer is greater than $15 million, in each case, after the
                     payment of   interest due on the New First Lien Notes.

Covenants:           Customar affrmative and negative covenants for facilities of                this type, including
                     but not limited to financial covenants and covenants limiting other indebtedness,
                     off-balance sheet financing, liens, investments, guaranties, restricted junior
                     payments (dividends, redemptions, and payments on subordinated debt), mergers
                     and acquisitions, sales of assets, capital expenditures, transactions with affliates
                     and conduct of business, subject to exceptions and baskets to be mutually agreed
                     by the paries.


Senior Revolving
Loan and Letter of
Credit Facilty:      The New First Lien Notes shall contain provisions permitting the Borrowers to
                     incur up to $10 million in secured indebtedness senior to the New First Lien
                     Notes in the form of a working capital revolving loan and letter of credit facility,
                     subject to the satisfaction of the terms and conditions set forth in the New First
                     Lien Notes Documentation.

Events of Default:   Customary for íàcilities of this type, including but not limited to failure to make
                     payments when due, defaults under other agreeents or instrments of
                     indebtedness, noncompliance with covenants, breaches of representations and
                     waranties, bankrptcy, judgments, invalidity of guaranties, impairment of
                     security interests, and change of ownership.


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                                                                                                         interest,
Other Terms:     The New First lien Notes shaH include without limitation a default rate of

                 optional, increased costs or reduced returns, conditions precedent to closing,
                 representations and waranties, assignments/participations, amendment, waiver,
                 and required lender provisions, in each case, customary for facilities of
                                                                                           this type.

Documentation:   The New First Lien Notes Documentation shaH be in form and substance
                 acceptable to the First Lien Steering Committee.




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